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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA
                                    Case 1:19-cr-00018-ABJ

UNITED STATES OF AMERICA,


       v.


ROGER J. STONE, JR.,

       Defendant.

__________________________________/

            DEFENDANT ROGER J. STONE'S AMENDED1 MOTION FOR NEW TRIAL
                                 (Juror Misconduct)

       Roger Stone requests this Court grant a motion for new trial based upon the arguments

below, pursuant to Federal Rule of Criminal Procedure 33(b)(1).

                                       INTRODUCTION

       Roger Stone was denied a fair trial as the result of juror misconduct that deprived him of

his right to be tried by an impartial jury. The jury’s foreperson concealed her explicit and

implicit bias by failing to disclose her active anti-Stone and anti-Trump sentiment, evidenced by

her multiple social media postings that directly reference her strong political bias and knowledge

of the Stone prosecution in direct contradiction of her responses during voir dire. In addition, she

actively discussed, on various social media platforms, alleged Russian interference in the 2016

election – the raison d’etre of both the “Mueller investigation” and the House Committee

inquiry. In starkly partisan terms, her postings address, specifically, the arrest of Roger Stone,

including at least one post on the day of Stone’s arrest, and also include several subsequent to

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       The version that we initially filed was not the intended version for filing. This amended
version does not contain any substantive changes and, therefore, should not impact the
government’s responsive submission.
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                      MEMORANDUM IN SUPPORT OF NEW TRIAL

A.      The Court is Authorized to Consider the Motion for New Trial.

        “Federal Rule of Criminal Procedure 33(b)(1) permits a defendant to file a motion for

new trial based upon newly discovered evidence “within 3 years after the verdict.” The Court has

jurisdiction to consider juror misconduct that is learned post-verdict under Rule 33(b)(1). United

States v. Richards, 241 F.3d 335, 343 (3d Cir. 2001); United States v. Gutierrez-Calderon, 2019

WL 3859753, at *10 (D.V.I. Aug. 16, 2019); United States v. Morrow, 412 F. Supp. 2d 146, 152

(D.D.C. 2006).

        The juror misconduct in this case is newly discovered evidence. Evidence is “newly

discovered” when “(1) the evidence [. . .] has been discovered since the trial; (2) the party

seeking the new trial must show diligence in the attempt to procure the newly discovered

evidence; (3) the evidence relied on must not be merely cumulative or impeaching; (4) it must be

material to the issues involved; and (5) [it must be] of such nature that in a new trial it would

probably produce an acquittal.” United States v. Davis, 612 F. Supp. 2d 48, 51 (D.D.C. 2009),

aff'd, 377 Fed. Appx. 19 (D.C. Cir. 2010) (citing United States v. Johnson, 519 F.3d 478, 487

(D.C. Cir.2008) (quoting United States v. Lafayette, 983 F.2d 1102, 1105 (D.C.Cir.1993))

(brackets in original)).

        The evidence of the juror’s explicit and inferred bias was not disclosed during jury

selection. Indeed, we know now that her answers were equivocal, misleading, deceptive, evasive

and fallacious. See composite Exhibit -- 1. The falsity of the juror’s voir dire responses became

known to Stone on February 12, 2020, when the juror publicly revealed her identity and her

history of social media posts was disclosed. Prior to that date, there appear to have been viewing

restrictions (and some remain) on Juror      ’s social media posts. Thus, even with the exercise


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of due diligence, Stone could not have discovered Juror       ’s bias prior to its recent disclosure.

       Therefore, the evidence meets the requirement that it be newly discovered, as it was not

known during the jury selection process or during trial, despite diligent efforts by Stone to

uncover any such evidence. The evidence of the juror’s bias similarly meets the requirement that

it be material not merely cumulative, given that it is qualitatively different than the information

available at the time of jury selection and that it would have had a direct impact on the

composition of the jury.

       The concealment of Juror         ’s philosophical and political views are an attack at the

heart of impartiality. No one knowing of her bias would permit this venire person to be

empanelled as a juror. The Court should, therefore, find that this motion for new trial meets the

requirements of Rule 33. See id.

B.     Jurors Must Reveal Their Biases and Be Open and Honest in Jury Selection.

       Regardless of the crimes alleged, “[i]t was so written into our law as early as 1807 by

Chief Justice Marshall in 1 Burr's Trial 416 (1807). ‘The theory of the law is that a juror who has

formed an opinion cannot be impartial.’ Irvin v. Dowd, 366 U.S. 717, 722 (1961) (citations

omitted).

       “Voir dire plays a critical function in assuring the criminal defendant that his

[constitutional] right to an impartial jury will be honored.” Morgan v. Illinois, 504 U.S. 719,

729-30 (1992) (citing Rosales-Lopez v. United States, 451 U.S. 182, 188, 101 S. Ct. 1629, 1634,

68 L. Ed. 2d 22 (1981)). “It is well settled that the Sixth and Fourteenth Amendments

guarantee a defendant on trial for his life the right to an impartial jury.” Ross v. Oklahoma, 487

U.S. 81, 85 (1988).




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        Challenges for cause permit rejection of jurors on a narrowly specified, provable, and

legally cognizable basis of partiality. Swain v. Alabama, 380 U.S. 202, 220 (1965). “[A] trial

court violates a defendant's right to an impartial jury if it erroneously denies a for-cause

challenge to a biased venire member who ultimately sits on the jury.” Skilling v. United States,

561 U.S. 358, 442 n. 8 (2010); United States v. Martinez–Salazar, 528 U.S. 304, 316 (2000)

(“[T]he seating of any juror who should have been dismissed for cause ... would require

reversal”).

       Bias is implied in “‘extreme situations where the relationship between a

prospective juror and some aspect of the litigation is such that it is highly unlikely that the

average person could remain impartial in his deliberations under the circumstances.’” United

States v. Sampson, 820 F. Supp. 2d 151, 164 (D. Mass. 2011) (citing Sanders v. Norris, 529 F.3d

787, 792 (8th Cir. 2008) (quoting Person v. Miller, 854 F.2d 656, 664 (4th Cir.1988)); see

also Fields v. Brown, 503 F.3d 755, 770 (9th Cir. 2007)).

       “Inferable” or “inferred” bias exists “‘when a juror discloses a fact that bespeaks a risk of

partiality sufficiently significant to warrant granting the trial judge discretion to excuse

the juror for cause, but not so great as to make mandatory a presumption of bias.’” Sampson, 820

F. Supp. 2d at 165-66. In such cases, further voir dire should be conducted to determine the

depth of any bias. See United States v. Littlejohn, 489 F.3d 1335, 1343 (D.C. Cir. 2007).

       In this case, this juror denied the Court and the parties a full and fair opportunity to

explore the depths of her bias and her concomitant inability to serve as an impartial juror.

Indeed, she instead appears to have chosen to act as an advocate for what she deems a higher

political cause. She seems to have made a moral decision that it was appropriate to mislead the

Court in order to enable her to use this trial as a means of exacting what she considered to be


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social justice. As set forth below, her bias is evidenced throughout her social media postings,

and, therefore, even without the need for a hearing, the Court can and should infer her bias

against Stone.

       In the months before the trial, Juror         was a prolific “tweeter” (posts on Twitter)

regarding investigations into Russian interference in the 2016 election and the Special Counsel’s

investigation. Consequently, the sheer number of her tweets and other social media posts on

topics inextricably intertwined with this case renders utterly incredible her claim during voir dire

that she could not remember if she posted on social media about this case or the related

investigations. See Juror      , (questions 23, 27). In fact, on January 25, 2019, the very day of

Stone's arrest in a pre-dawn raid in Florida in which she shared an article outlining his indictment

with her caption – "Brought to you by the lock her up peanut gallery”:




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       In light of the above post on the day of Stone’s arrest—combined with her numerous

other related posts—her answer in voir dire constitutes a blatant assault on the integrity of jury

selection. It also strains belief that she had no opinions about the people who might be witnesses

in the case that would affect her ability to be fair and impartial. (See question 30). These facts

alone warrant a new trial, particularly in light of her role as foreperson and her status as a lawyer.

       But there are additional responses that are similarly impossible to credit in the face of her

now revealed bias. For example, the Court asked this juror the following question: “And when

we asked what you read or heard about the defendant, you do understand that he was involved in

Mr. Trump’s campaign in some way?” The Court continued, “Is there anything about that that

affects your ability to judge him fairly and impartially sitting here now in this courtroom?” T.

94. In response, Juror        —having concealed her history of anti-Stone posts, which she was

required to disclose in response to question 23—claimed that she could be fair. Plainly, the juror

was not forthcoming with the Court.

       In addition, when counsel for Stone questioned the juror about her political biases the

following exchange occurred:


               MR. BUSCHEL:                    The fact that you run for an office, you're
                                               affiliated with a political party. Roger Stone
                                               is affiliated with the Republican party,
                                               Donald Trump. You understand what I'm
                                               saying and getting at?
               PROSPECTIVE JUROR:              I do.

               MR. BUSCHEL:                    How do you feel about that?

               MR. KRAVIS:                     Objection.

               THE COURT:                      Can you make that question a little bit more
                                               crisp? Is there anything about his affiliation
                                               with the Trump campaign and the
                                               Republican party in general that gives you

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       Jurors must follow the instructions of the court.6 Jurors who fail to follow the instructions

of the court are committing a miscarriage of justice. A juror would be excused for cause if the

juror were to admit that the juror did not follow court instructions. Morgan v. Illinois, 504 U.S.

719, 738 (1992). This juror failed to advise the Court that she is extremely partisan. The

evidence strongly indicates that she was a “stealth juror,” covering her bias to enable her to

intrude into the trial process at the most fundamental level. That this juror is a lawyer and

understands the importance of the Court’s instructions and the duty of candor makes it all the

more difficult to ignore, dismiss, or excuse her concealment of her strong bias against Stone. Her

political posts demonstrate that she was actively reading news relating to Trump and presidential

politics during trial, and almost undoubtedly also read about Stone, in violation of the Court’s

repeated orders. In addition, given her obvious failure to follow the Court’s instructions in voir

dire, a presumption arises that she failed to follow the Court’s instructions in other instances,

which would further undermine the integrity of the trial.

       Accordingly, it is respectfully submitted that the Court should order a new trial on the

ground that the verdict is unreliable, given the newly discovered bias of the jury foreperson.




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        The Court repeated an instruction like this many times throughout the trial. “And when I
tell you that you can't discuss the case, that also means that you must not use electronic devices,
such as phones or computers, to communicate or talk about the case. You may not send an email
or on instant message or text about it or write or Tweet about the case electronically through any
blog, posting, chat room, instant message, or other communication, including social networking
sites, such as Facebook, Twitter, LinkedIn, Instagram, Snapchat, YouTube, or anything that's
been invented that I haven't heard of yet until you have delivered your verdict and the case is
over. Do not send or accept any messages, including email and text messages, about your jury
service. You must not disclose your thoughts about your jury service or ask for advice about how
to decide the case. (Emphasis added). T. 255-56. In addition, The Court repeatedly told jurors do
not watch related news reports. T. 258.

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               extraneous influences,” United States v. Sun Myung Moon, 718
               F.2d 1210, 1234 (2d Cir. 1983), because “post-verdict inquiries
               may lead to evil consequences: subjecting juries to harassment,
               inhibiting juryroom deliberations, burdening courts with meritless
               applications, increasing temptation for jury tampering and creating
               uncertainty in jury verdicts.” United States v. Ianniello, 866 F.2d
               540, 543 (2d Cir. 1989).

               Nevertheless, a trial court is required to hold a post-trial jury
               hearing when reasonable grounds for investigation exist. Moon,
               718 F.2d at 1234. “Reasonable grounds are present when there is
               clear, strong, substantial and incontrovertible evidence, that a
               specific nonspeculative impropriety has occurred which could have
               prejudiced the trial defendant.” Id. . . . Although prior cases are
               instructive in guiding our determination of what constitutes “clear,
               strong, substantial and incontrovertible evidence . . . each situation
               in this area is sui generis,” Moon, 718 F.2d 1234, and the
               allegation need not be conclusive, Ianniello, 866 F.2d at 543.

United States v. Vitale, 459 F.3d 190, 197 (2d Cir. 2006) (emphasis supplied) (some elisions in

quoted material) (holding that district court should have held a hearing where it was revealed that

a juror had a relationship with prosecutor’s husband).

       The Court, at the very least, should conduct an evidentiary hearing ordering the Juror

produce the documents associated with the links to her social media posts. See United States v.

Morrow, 412 F. Supp. 2d 146, 152 (D.D.C. 2006). We recognize that the Court should be

mindful of questioning that would infringe upon the confidentiality of deliberations, but the rules

of evidence permit the inquiry that is sought here. See id. (citing Fed. R. Ev. 606(b)). This could

be accomplished by having the Juror present to testify about all her social media postings set out

in Exhibit 1 of this motion.

       "A juror can testify about whether extraneous prejudicial information was improperly

brought to the jury’s attention.” Fed. R. Evid. 606(b)(2)(A). United States v. Guzman Loera,

2019 WL 2869081, at *14 (E.D.N.Y. July 3, 2019) (citing Loliscio v. Goord, 263 F.3d 178, 186

(2d Cir. 2001) (“We then noted that although Federal Rule of Evidence 606(b) permits jurors to

testify on the question whether extraneous prejudicial information was improperly brought to the


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jury’s attention, the juror may not go on to testify about the effect of that information on the

juror’s mental processes or the jury’s deliberations.”) (internal quotation marks, alterations, and

citations omitted); United States v. Sattar, 395 F. Supp. 2d 66, 75 (S.D.N.Y. 2005) (“This

exception is a narrow one, because even when a juror attests to outside information, ‘the juror

may not go on to testify about the effect of that information on the juror’s mental processes or

the jury’s deliberations.’ ”) (quoting Bibbins v. Dalsheim, 21 F.3d 13, 17 (2d. Cir. 1994)).

       "Prejudice is presumed on a Rule 33 motion when the jury is exposed to extra-record

information." Guzman Loera, 2019 WL 2869081, at *14 (citing United States v. Farhane, 634

F.3d 127, 168 (2d Cir. 2011); Remmer v. United States, 347 U.S. 227, 229 (1954); United States

v. Greer, 285 F.3d 158, 173 (2d Cir. 2002)). But that presumption can be rebutted by showing

that the extra-record information was harmless. Id. (quoting Bibbins v. Dalsheim, 21 F.3d 13, 16

(2d Cir. 1994)).

       Thus, in the absence of a new trial order, Juror       should be called to present evidence

about her lack of candor with the Court during jury selection and whether she shared extraneous

information and her political agenda with the other jurors during the course of the trial, along

with other related issues raised in this application.

                                          CONCLUSION

       The Court should grant the motion for new trial based upon the arguments above.

Alternatively, the Court should order an evidentiary hearing to include testimony from this juror.




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                                               Respectfully submitted,
                                               By: /s/_______________

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 17, 2020, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this day

on all counsel of record or pro se parties identified on the attached service list in the manner

specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notice of Electronic filing.


    United States Attorney’s Office for the
            District of Columbia

       John D. Crabb, DOJ

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